Case 1:19-cr-00253-TSE Document 96 Filed 10/01/19 Page 1 of 5 PageID# 408




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA


                                      Alexandria Division




 UNITED STATES OF AMERICA                           Grim. No. l:i9-CR-253


                                                    The Honorable T.S. Ellis, III

DARRYL JULIUS POLO,
               a/k/a djppimp,

                      Defendant.



                                             ORDER


       Upon the joint motion ofthe Upited States and the defendant, by and through counsel, it

is hereby

                            I. DISCOVERY AND INSPECTION

       ORDERED pursuant to Fed. R. Grim. P. 16(a), that no later than seven calendar days

before trial, unless for good cause shown:

       I. The government shall disclose to the defendant and make available for inspection,

copying, or photographing: any relevant written or recorded statements made by the defendant,
or copies thereof, within the possession, custody, or control of the government, the existence of
which is known, or by the exercise of due diligence may become known, to the attorney for the
government, that portion of any written record containing the substance of any relevant oral
statement made by the defendant whether before or after arrest in response to interrogation by
any person then known to the defendant to be a government agent; recorded testimony of the
Case 1:19-cr-00253-TSE Document 96 Filed 10/01/19 Page 2 of 5 PageID# 409
Case 1:19-cr-00253-TSE Document 96 Filed 10/01/19 Page 3 of 5 PageID# 410
Case 1:19-cr-00253-TSE Document 96 Filed 10/01/19 Page 4 of 5 PageID# 411
Case 1:19-cr-00253-TSE Document 96 Filed 10/01/19 Page 5 of 5 PageID# 412
